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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Plaintiff,

V. Case 1:19-cr-00018-ABJ
ROGER J. STONE, JR.
Defendant.
/

DECLARATION OF GRANT J. SMITH IN SUPPORT OF
MOTION FOR ADMISSION PRO HAC VICE

I, Grant J. Smith, hereby declare:
1. My name, office address, and telephone number are as follows:
Grant J. Smith
StrategySmith, PA
401 East Las Olas Boulevard
Suite 130-120
Fort Lauderdale, FL 33301
954.328.9064
gsmith@strategysmith.com
2. [have been admitted to the following courts and bars:
Supreme Court of Florida (1992) (Fla. Bar No. 935212)
USS. District Court for the Southern District of Florida
3. 1am currently in good standing with all states, courts, and bars in which I am admitted,
4. | have been admitted pro hac vice in this Court once in the past 2 years.
5. I have never been disciplined by any bar in which I was nor am a member,
6. I do not have an office located within the District of Columbia.
I declare under penalty of perjury that the foregoing is true and correct.

Executed in the District of Columbia this 29th day of January, 2019.

/s/ Grant Smith
Grant J. Smith
